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5
     Attorneys for Plaintiff STEVEN V.
6    MENDOZA
7
8                       UNITED STATES DISTRICT COURT
9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                  EASTERN DIVISION
11
12   STEVEN V. MENDOZA, an                  Case No. 5:20-CV-01371 JGB (KKx)
     individual,
13                                          ORDER GRANTING STIPULATION
                       Plaintiff,           TO VOLUNTARILY DISMISS
14                                          ACTION PURSUANT TO F.R.C.P.
     vs.                                    41(a)(1)(A)(ii)
15
     WINCO FOODS, INC., a                   District Judge: Hon. Jesus G. Bernal
16                                          Magistrate Judge: Hon. Kenly Kiya
     corporation, place of incorporation    Kato
17   unknown; BRIAN [LAST NAME
     UNKNOWN], an individual; [FIRST        FPTC:      1/10/2022
18   NAME UNKNOWN] McKENZIE,                Trial:     2/08/2022
     an individual; ERNIE [LAST NAME
19   UNKNOWN], an individual; and
     DOES 1 through 20, inclusive,
20
21                     Defendants.

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           ORDER GRANTING STIPULATION TO VOLUNTARILY DISMISS ACTION
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1                                       ORDER
2          The stipulation to dismiss this action in its entirety with prejudice and
3    with each party to bear her or its own attorneys’ fees and costs pursuant to Rule
4    41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure is hereby GRANTED.
5    IT IS SO ORDERED.
6
7    Dated: October 14, 2021                  ___________________________
                                              Hon. Jesus G. Bernal
8                                             United States District Judge
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         ORDER GRANTING STIPULATION TO VOLUNTARILY DISMISS ACTION
